             Case 4:20-cv-01196-JM Document 5 Filed 12/30/20 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

MICHELLE MAY                                                                         PLAINTIFF

VS.                                   4:20-CV-01196 JM

USAA CASUALTY INSURANCE COMPANY                                                     DEFENDANT

                                             ORDER

       In its Motion for Judgment on the Pleadings (Doc. No. 3), Defendant asserts that it is not

the insurer that has a contract with Plaintiff. Defendant points out that the contract attached to

Plaintiff=s complaint Aclearly states it is a policy issued by United Services Automobile

Association, not USAA Casualty Insurance Company.@1 In her response, Plaintiff Aagrees that

Defendant is entitled to judgment on the pleadings.@2

       Accordingly, the motion is GRANTED and this case is DISMISSED.

       IT IS SO ORDERED this 30th day of December, 2020.




                                              _________________________________
                                              UNITED STATES DISTRICT JUDGE




       1
           Doc. No. 3.
       2
           Doc. No. 4.
